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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    WAYMO LLC,                                            Case No.17-cv-00939-WHA (JSC)
                                                        Plaintiff,
                                   8
                                                                                              DISCOVERY ORDER
                                                 v.
                                   9
                                                                                              Re: Dkt. Nos. 2442, 2450
                                  10    UBER TECHNOLOGIES, INC., et al.,
                                                        Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13           Following an evidentiary hearing regarding the Richards Jacob’s letter, the district court

                                  14   reopened discovery “to get to the bottom of new evidence” that came to light as a result of the

                                  15   letter. (Dkt. No. 2315.) The time for this supplemental discovery closed on December 22, 2017.

                                  16   (Dkt. No. 2310 at 159.) Seven days later, on the last day possible to bring a discovery dispute to

                                  17   this Court’s attention, Waymo filed a discovery letter brief raising several issues with its

                                  18   supplemental discovery. The Court ordered Uber to respond by 10:00 a.m. on January 4, 2018

                                  19   (Dkt. No. 2248.) Upon review of Waymo’s letter and exhibits and Uber’s opposition and exhibits,

                                  20   the Court rules as set forth below.

                                  21           1.      Interrogatory No. 1

                                  22           Uber shall supplement its response to Waymo’s Interrogatory No. 1 on or before January

                                  23   8, 2018. There is no justification for Uber’s limiting its response to only those personnel who

                                  24   received an actual copy of the Jacobs letter, especially in light of the district court’s explicit

                                  25   command that the supplemental discovery include “the identities of all defendants’ personnel who

                                  26   were aware of Jacob’s letter or email before November 22.” (Dkt. No. 2315 at 2.) Uber’s lament

                                  27   that the interrogatory is vague as to whether aware means aware of the allegations in the letter and,

                                  28   if so, which allegations is not well taken. The interrogatory asks for the identities of personnel
                                   1   aware of the letter or email, not for persons merely aware of the allegations made.

                                   2          2.      In Camera Review

                                   3          Waymo’s request for in camera review of a subset of documents or redactions withheld on

                                   4   privilege grounds is granted in part and denied in part. As Uber emphasizes, given the

                                   5   compressed time frame it had for production it is unsurprising that some documents would have

                                   6   been initially improperly withheld or inconsistently redacted. That means, however, that there is a

                                   7   concern that some documents may not be properly redacted. On the other hand, despite several

                                   8   weeks of targeted discovery, including many depositions and document productions, Waymo does

                                   9   not identify any particular information that such redactions, if improper, are likely to reveal that

                                  10   are relevant to a claim or defense in this action. Thus, the random in camera review requested by

                                  11   Waymo is not proportional to the needs of the case. Instead, Waymo may identify for Uber 50

                                  12   pages by bates number that it wants the Court to review in camera. It shall provide those bates
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                                  13   numbers to Uber by 5:00 p.m. on January 5, 2018. Uber shall provide the Court with unredacted

                                  14   copies of those Waymo-identified 50 pages that identify the redacted portions by 5:00 p.m. on

                                  15   Monday, January 9, 2018.

                                  16          3.      Documents Regarding Vendor 1

                                  17          The Court is satisfied that Uber is not withholding responsive documents.

                                  18          4.      Chat Application Default Settings

                                  19          Unless the parties reach a different agreement, on or before 5:00 p.m. on January 5, 2018

                                  20   each shall provide the other in the form of a verified interrogatory response the default retention

                                  21   settings that were generally approved for use at Uber/Google.

                                  22          This Order disposes of Docket Nos. 2442 and 2450. As more than a week has passed since

                                  23   the close of discovery, no further discovery disputes may be brought to the Court’s attention.

                                  24          IT IS SO ORDERED.

                                  25   Dated: January 4, 2018

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  28                                                                 United States Magistrate Judge
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